Case 2:23-cr-00155-NDF Document1 Filed 10/30/23 Page 1 of 7

UNITED STATES DISTRICT COURT
DISTRICT OF WYOMING

UNITED STATES OF AMERICA,
Plaintiff,
CRIMINAL COMPLAINT
¥.
Case Number: L445 } | 47 --
RICHARD MCCLOSKEY,
Defendant.

I, the undersigned complainant, being duly sworn, state the following is true and correct to
the best of my knowledge and belief.

On or about August 15, 2023, in the District of Wyoming, the Defendant, RICHARD
MCCLOSKEY, knowing he had previously been convicted of a crime punishable by imprisonment
for a term exceeding one year, knowingly possessed a firearm, namely, a Heckler & Koch, model
MP7, 4.6 caliber machine gun, bearing serial number 164029333, and a B&T MP7 suppressor
bearing serial number US213136, and the firearm and suppressor were in and affecting commerce.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8).

I further state that | am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms &
Explosives and that this complaint is based on the following facts:
(See attached Sworn Statement)
Continued on the attached sheet and made a part hereof.

MATTHEW WRIGHT seine

Date: 2073 10.27 0s-5545 our

Signature of Complainant
MATTHEW T. WRIGHT

Sworn and attested by the applicant before me by telephone, bearing a previous signature
submitted by email communication in accordance with requirements of Fed. R. Crim. P. 4.1.

(C/30© fs 2ZO7T Ss at Cheyenne, Wyoming

Date ( City and State

HON. KELLY H. RANKIN
Chief United States Magistrate Judge ji ee Fag ze a _

Name & Title of Judicial Officer Signature of Judicial Officer

Case 2:23-cr-00155-NDF Document1 Filed 10/30/23 Page 2 of 7

SWORN STATEMENT IN SUPPORT OF CRIMINAL COMPLAINT
SPECIAL AGENT MATTHEW T. WRIGHT
U.S. v. RICHARD MCCLOSKEY

I, Matthew T. Wright, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

Your affiant is a graduate of Colorado State University, and received a Bachelor of
Arts in Criminology. In 2008, your affiant began his career as a military police officer with
the United States Army. In 2009, your affiant attended the US Army Military Police Officer
Basic Course. Beginning in 2012, your affiant was hired by the Bureau of Alcohol,
Tobacco, Firearms and Explosives as an Industry Operations Investigator. In 2013, your
affiant was hired as a Special Agent for the Bureau of Alcohol, Tobacco, Firearms and
Explosives (“ATF”) and was assigned to the Cheyenne, Wyoming Field Office. Your
affiant is a graduate of the Federal Law Enforcement Training Center and the ATF National
Academy. As a result of his training and experience as an ATF Special Agent, your affiant
is familiar with Federal criminal laws and knows that it is a violation of 18 U.S.C. 922(g)(1)
for a person who has been convicted of a crime punishable by one year in prison to

knowingly possess a firearm.

PROBABLE CAUSE

On August 15, 2023, Bureau of Alcohol, Tobacco, Firearms & Explosives (ATF)
Special Agent (SA) Krystal Stevenson and Casper Police Department (CPD) Detective
(Det) Andrea Husted interviewed Robert Clifford regarding a theft from Clifford’s

vehicle.
3.

Case 2:23-cr-00155-NDF Document1 Filed 10/30/23 Page 3 of 7

Clifford stated that he owned Pathfinder Defense, a Federal Firearms License
(FFL) holder, located at 910 Ave. E, Powell, WY 82435. Clifford said that he was in
Casper, WY to participate in a class called Wild Well Control since Clifford also worked
in the oil field. Clifford told SA Stevenson and Det. Husted that Clifford brought three
(3) firearms with him to Casper: Glock, model 43, 9mm pistol, S/N BHXT65 (personal
firearm); Heckler & Koch, model MP7, 4.6 caliber machine gun, S/N 164029333; B&T
MP7 suppressor, S/N US213136. Clifford stated that he intended to do a demonstration
for local law enforcement (LE) agencies in Worland, WY at the end of the week when
Clifford was on his way back to Powell, WY. Clifford said that he builds firearms for
numerous LE agencies across the United States.

Clifford stated that on August 14, 2023, he left his vehicle locked at
approximately 7:45pm in the parking lot of the Residence Inn Casper where he was
staying for the week. The next morning, Clifford woke at approximately 6:45am, got
some items together in his room, grabbed breakfast in the lobby of the hotel, went to his
vehicle and used the door code to unlock his vehicle. Clifford heard and saw the doors
unlock, he got into his vehicle and realized several items were missing to include the
aforementioned firearms. Clifford said that he left the firearms and other items in his
truck because he believed they would be secure there. He didn’t want to walk through the
hotel with numerous firearms.

Clifford stated that no one knew where he was staying in Casper. Clifford stated
that no one in his class knew he had a FFL and Clifford didn’t mention it to anyone else

he came in contact with in Casper.
6.

10.

Case 2:23-cr-00155-NDF Document1 Filed 10/30/23 Page 4 of 7

On August 16, 2023, CPD Detective Husted accessed a law enforcement website
and discovered that Richard McCloskey had pawned 2 24K YG 34 gram, 1980 South
African 1 oz gold coins the day before at First Cash Pawn in Casper, WY. Detective
Husted responded to First Cash Pawn and reviewed surveillance footage of the individual
pawning the gold coins and was able to identify the individual as McCloskey from a
previous booking photograph. Additionally, exterior cameras showed McCloskey leaving

in a vehicle described as a white GMC pickup truck.

Through interviewing employees of the pawn shop, Detective Husted was able to
determine McCloskey intended to return and pawn more of the gold coins. Later that
same day, Detective Husted was able to locate McCloskey in First Cash Pawn and arrest
him. A search incident to arrest revealed an additional gold coin matching those that had

been stolen and pawned the previous day.

The GMC Sierra pickup truck was located in the parking lot of First Cash Pawn,
with a female occupant, Megan Day, inside. The vehicle was found to be stolen. Day was
taken into custody. Used syringes and a buttstock matching that of the stolen MP7 rifle

were seen before the vehicle was secured while detectives obtained a search warrant.

A search of the vehicle revealed the stolen H&K, model MP7 rifle with suppressor

and the remaining stolen items, with the exception of the Glock, model 43 pistol.

McCloskey was interviewed by Detective Husted. He admitted to smoking fentanyl.
He admitted to stealing the GMC pickup truck approximately one month prior.
McCloskey then admitted to being at the Residence Inn on August 14. He claimed he had

3
11.

12.

13,

14.

Case 2:23-cr-00155-NDF Document1 Filed 10/30/23 Page 5 of 7

seen someone throw items from Clifford’s truck. He stated he waited for five minutes
before checking to see if anyone returned to retrieve the items. No one did, so he picked
up the plastic sleeve contained the gold coins, and a duffel bag containing the other items.
McCloskey later went through the duffel bag and observed the MP7 rifle with suppressor.
McCloskey repeatedly used controlled substances during this time, eventually pawning

two of the gold coins for $3100 and buying 400 to 500 fentany! pills.

An interview with Megan Day was conducted by Detective Husted. Day stated she
met with McCloskey at the Wyoming Downs in Evansville on August 16, 2023. At one
point, McCloskey was holding a rifle style firearm and showing it to someone else in her

presence.

On September 13, 2023, I submitted a copy of fingerprints taken from McCloskey
on August 18, 2023 to the Wyoming Division of Criminal Investigations Crime Lab so
they could be compared to existing criminal records. The DCI Fingerprint Examiner
confirmed that the fingerprints submitted belonged to those of a convicted felon,
specifically Richard McCloskey who was convicted of possession of burglary in 2016 in

the state of Wyoming.

Through my training and experience, I know that neither Heckler and Koch or B&T
firearms are made in the state of Wyoming. Therefore, the firearms that McCloskey

possessed had been shipped or transported in interstate commerce.

Based on the foregoing, I respectfully submit that there is probable cause to believe
that the above described individual has committed violations of 18 U.S.C. § 922(g){1).

4
Case 2:23-cr-00155-NDF Document1 Filed 10/30/23 Page 6 of 7

15. I therefore respectfully request that the attached warrant be issued authorizing the

arrest of Richard McCloskey.

END OF SWORN STATEMENT
Case 2:23-cr-00155-NDF Document1 Filed 10/30/23 Page 7 of 7

PENALTY SUMMARY
DEFENDANT NAME: RICHARD MCCLOSKEY
DATE: October 30, 2023
INTERPRETER NEEDED: No
VICTIM(S): Yes
OFFENSE/PENALTIES:
Ct:1 18 U.S.C. §§ 922(g)(1) and 924(a)(8)
(Felon in Possession of a Firearm)
0-15 Years Imprisonment
Up To $250,000 Fine
3 Years Supervised Release
$100 Special Assessment
TOTALS: 0-15 Years Imprisonment
Up To $250,000 Fine
3 Years Supervised Release
$100 Special Assessment
AGENT: Matthew T. Wright, ATF
AUSA: Jonathan C. Coppom, Assistant United States Attorney
ESTIMATED TIME OF
TRIAL: 1 to 5 days
WILL THE GOVERNMENT
SEEK DETENTION IN THIS
CASE: Yes
ARE THERE DETAINERS
FROM OTHER
JURISDICTIONS: No
